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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        UNITED STATES OF AMERICA
                         -against-                                     MEMORANDUM & ORDER
                                                                        18-CR-204 (S-1) (NGG)
        KEITH RANIERE,
                                      Defendant.

              NICHOLAS G. GARAUFIS, United States District Judge.
              Following a six-week jury trial, Defendant Keith Raniere was convicted
              of racketeering, racketeering conspiracy, wire fraud conspiracy, forced
              labor conspiracy, sex trafficking conspiracy, and two counts of sex traf-
              ficking. The jury returned its verdict on June 19, 2019. (Jury Verdict
              (Dkt. 735).) Now before the court is Mr. Raniere’s Second Motion for
              a New Trial,1 pursuant to Fed. R. Crim. P. 33, which Mr. Raniere filed on
              October 19, 2020, eight days prior to his sentencing date. (Second
              Mot. for New Trial (“Mot.”) (Dkt. 956).) Mr. Raniere argues that re-
              cently obtained affidavits from two former DOS members establish
              that “the Government engaged in a widespread, systemic effort to
              threaten potential defense witnesses and to prevent them from testi-
              fying” and constitute newly discovered evidence that requires a new
              trial in the interest of justice. (Mem. in Supp. of Second Mot. for New
              Trial (“Mem.”) (Dkt. 956-1) at 1-2.) For the reasons explained below,
              Mr. Raniere’s motion is DENIED.




              1Mr.
                   Raniere previously moved this court for a new trial on March 9, 2020, on
              the grounds that a civil lawsuit in which some of the Government’s trial wit-
              nesses appeared to be parties constituted newly discovered evidence. (Mot. for
              New Trial (Dkt. 851); Mem. in Support of Mot. for New Trial (Dkt. 853) at 1-3.)
              On July 17, 2020, the court denied the motion. (See (Dkt. 902) at 1.)




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                  BACKGROUND

              The court assumes familiarity with the relevant facts and procedural
              history of this case and summarizes them only to the extent they are
              relevant to this motion.
              On May 22, 2018 and June 4, 2018, the Government interviewed
              Michelle Hatchette, a former member of DOS, pursuant to a proffer
              agreement. (Mem. in Opp. to Second Mot. for New Trial (“Opp.”) (Dkt.
              961) at 3.) Ms. Hatchette was represented by counsel at both inter-
              views. (Aff. of Michelle Hatchette (“Hatchette Aff.”) (Dkt. 956-2) ¶¶ 32,
              38.) According to Ms. Hatchette, she indicated to the Government in
              these interviews that her participation in DOS was voluntary, and her
              Government interviewers reacted to her account of that participation
              with skepticism and resistance. (Hatchette Aff. ¶¶ 32-38.) Shortly be-
              fore Mr. Raniere’s trial, the Government contacted Ms. Hatchette’s
              attorney to arrange a third interview. (Id. ¶ 39.) The Government al-
              legedly informed Ms. Hatchette’s attorney that it intended to call Ms.
              Hatchette as a trial witness and would compel her testimony by sub-
              poena if necessary, and advised her attorney that it “would be likely to
              charge [Ms. Hatchette] with perjury” if she declined to participate in
              the interview. (Id. ¶ 40.) Ms. Hatchette did not participate in the inter-
              view, and she did not testify at Mr. Raniere’s trial. (Id. ¶¶ 39, 45.)
              Separately, in preparing for trial, the Government learned that Nicole
              Clyne, a former member of DOS, was in control of hard drives contain-
              ing the only known copies of DOS-related materials, including former
              members’ so-called “collateral.” (Opp. at 3-4.) The Government had
              previously corresponded with Ms. Clyne’s attorney about interviewing
              Ms. Clyne in connection with its investigation, but Ms. Clyne had re-
              fused to speak with the Government unless it offered protection from
              prosecution, and the Government had not agreed to such a term. (Aff.
              of Nicole Clyne (“Clyne Aff.”) (Dkt. 956-3) ¶ 4.)




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              On April 9, 2019, the Government served Ms. Clyne, through counsel,
              with a grand jury subpoena seeking DOS-related records in her pos-
              session. (Opp. at 4.) Ms. Clyne’s counsel told the Government that Ms.
              Clyne would invoke her Fifth Amendment right against self-incrimina-
              tion if called to testify. (Id.) On April 10, 2019, the Government
              provided Ms. Clyne’s attorney with a letter granting act-of-production
              immunity in connection with production of the requested materials.
              (Id. at 4-5.) Ms. Clyne’s attorney indicated that Ms. Clyne was asserting
              privilege with respect to the materials. (Id. at 5.) The Government ul-
              timately did not seek an order of statutory act-of-production
              immunity from the court and did not obtain the materials it sought.
              (Id. at 5-6.)
              At some point during the Government’s correspondence with Ms.
              Clyne’s attorney, the Government’s lead prosecutor allegedly stated,
              “[f]irst we are going to cut the head of the snake off and then we’re
              coming for the body. This is not going away for her.” (Clyne Aff. ¶ 5.)
              Ms. Clyne did not testify at Mr. Raniere’s trial. (Id.)
              On October 19, 2020, Mr. Raniere’s counsel submitted affidavits by
              Ms. Hatchette and Ms. Clyne in support of Mr. Raniere’s Second Mo-
              tion for a New Trial. (See Mot.; Hatchette Aff.; Clyne Aff.) According to
              their affidavits, Ms. Hatchette and Ms. Clyne would both have liked to
              testify for the defense at Mr. Raniere’s trial, but they chose not to do
              so out of a concern that the Government would retaliate against them
              by initiating prosecutions. (Hatchette Aff. ¶¶ 41-43; Clyne Aff. ¶ 5.)

                  LEGAL STANDARD

              Federal Rule of Criminal Procedure 33 provides that the court may “va-
              cate any judgment and grant a new trial if the interest of justice so
              requires.” Fed. R. Crim. P. 33(a). A motion for a new trial “grounded on
              newly discovered evidence must be filed within 3 years after the ver-
              dict or the finding of guilty,” Fed. R. Crim. P. 33(b)(1), while a motion
              for a new trial based on any other ground “must be filed within 14 days
              after the verdict or finding of guilty,” Fed. R. Crim. P. 33(b)(2).




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              Although a district court’s discretion to grant a new trial is broad, that
              authority is to be used sparingly and only when the court harbors “a
              real concern that an innocent person may have been convicted.”
              United States v. Canova, 412 F.3d 331, 349 (2d Cir. 2005);2 see also,
              e.g., United States v. Snyder, 740 F. App’x 727, 728 (2d Cir. 2018)
              (“A district court ordinarily should not grant a new trial unless it is
              convinced that the jury has reached a seriously erroneous result or
              that the verdict is a miscarriage of justice.”).
              Where a new trial motion is premised on newly discovered evidence,
              it may be granted “only upon a showing that the evidence could not
              with due diligence have been discovered before or during trial, that
              the evidence is material, not cumulative, and that the admission of the
              evidence would probably lead to an acquittal.” United States v. Owen,
              500 F.3d 83, 87 (2d Cir. 2007). Evidence “that was known by the de-
              fendant prior to trial, but became newly available after trial” is not
              newly discovered evidence for purposes of a Rule 33 motion. Id. at 89.
              “[I]f the reason that testimonial evidence was unavailable at trial was
              the defendant’s failure to call a witness that he knew could provide
              exculpatory testimony, a new trial on the basis of newly discovered
              evidence would not be warranted.” United States v. Forbes, 790 F.3d
              403, 409 (2d Cir. 2015). Moreover, when a defendant’s coconspirator
              refuses to testify on the basis of her Fifth Amendment privilege and
              then, following trial, indicates a willingness to testify, such testimony
              is not “newly discovered” regardless of “how the impediment of the
              privilege was removed.” Id. at 409-10.

                   DISCUSSION

              The evidence that forms the basis of Mr. Raniere’s motion for a new
              trial, as described in the affidavits of Ms. Hatchette and Ms. Clyne, is
              not newly discovered. There is no question that Mr. Raniere has
              known Ms. Hatchette and Ms. Clyne personally since before his arrest.

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               When quoting case law, except as otherwise noted, all citations and internal
              quotation marks are omitted, and all alterations are adopted.




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              Ms. Clyne was a “first-line” DOS master who reported directly to Mr.
              Raniere, and in a letter to the court she describes herself as “a partner
              of [his] for over a decade.” (Presentence Investigation Report (“PSR”)
              ¶ 312; Nicole Clyne Letter (“Clyne Letter”) (Dkt. 950) at ECF p. 49.) Ms.
              Hatchette had sexual contact with Mr. Raniere in connection with an
              “assignment” given to her by Allison Mack, her DOS “master.” (Opp. at
              11; PSR ¶ 119.) Mr. Raniere knew both of these individuals and was
              aware of their involvement in DOS. The fact that Ms. Hatchette and
              Ms. Clyne did not offer to testify at Mr. Raniere’s trial pertains only to
              the availability of their testimony, and does not suggest in any way
              that they were unknown to him. See Forbes, 790 F.3d at 409.
              The substance of the testimony that Ms. Hatchette and Ms. Clyne al-
              lege that they would have given is also not new; indeed, far from
              containing some sort of evidentiary revelation, the hypothetical testi-
              mony described in their affidavits covers ground that is well tread in
              this case. They allege principally that they would have countered the
              testimony of various witnesses for the prosecution who described el-
              ements of DOS, including the use of collateral, assigned labor, and
              certain members’ sexual contact with Mr. Raniere, as products of co-
              ercion and psychological manipulation. Ms. Hatchette alleges that her
              testimony would have established that her participation in DOS, and
              her performance of tasks and assignments attendant on that partici-
              pation, was voluntary, and that she perceived certain Government
              witnesses who testified to feeling coerced as being similarly enthusi-
              astic about their membership in the organization. (Hatchette Aff. ¶¶
              20-30.) Ms. Clyne alleges that she would have testified that, in her
              view, “DOS had a notable and worthy purpose,” “women chose to par-
              ticipate in DOS voluntarily and benefitted greatly from its practices,”
              and she “never witnessed any threats or negative[] consequences en-
              acted upon” women who wished to leave the group. (Clyne Aff. ¶ 6.)
              Mr. Raniere, however, was well aware at the time of trial that certain
              DOS members considered their participation to be voluntary, that
              even the Government’s witnesses had sometimes participated in a




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              manner that could be construed as enthusiastic, and that the threat of
              women’s collateral being released had not been realized. Indeed,
              these were all premises that were central to his counsel’s theory of the
              case.3 Thus, the substance of the testimony that Ms. Hatchette and
              Ms. Clyne claim they would have offered was not unknown to Mr. Ra-
              niere, and certainly was not outside the realm of evidence that he
              could have discovered through due diligence.4 See Owen, 500 F.3d at
              89.
              Mr. Raniere argues that the testimony of Ms. Hatchette and Ms. Clyne
              qualifies as “newly discovered” evidence “because these witnesses
              were threatened and intimidated into silence by the purposeful ac-
              tions of the prosecution.” (Mem. at 7.) While the court takes seriously
              allegations of prosecutorial misconduct, the allegations in these affi-
              davits provide scant and highly questionable evidence that the
              Government improperly threatened or intimidated these two individ-
              uals, let alone that it engaged in a widespread intimidation campaign,
              as Mr. Raniere suggests. More to the point, the allegations in this case
              merely provide context for why Ms. Hatchette and Ms. Clyne chose
              not to testify.5 The reasons for their alleged unavailability, like the fact

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                In fact, in his opening statement to the jury, Mr. Raniere’s counsel explained,
              “[O]ne of the things I think is important, none of the collateral was ever released
              . . . I’m saying never, it was never released . . . what that means is they never had
              any intention of releasing it.” (Ranire Trial Tr. (“Tr.”) at 70-71; see also id. (“But
              one of the things I want you to look for, see if anyone seems forced, see if the
              women seem forced, or they’re doing it because they want to do it because, in
              their own words, they want to [be] bad ass, their words.”).)
              4
                In fact, Mr. Raniere was aware, as part of the Government’s pre-trial produc-
              tion, of statements made by both Ms. Hatchette and Ms. Clyne to the
              Government regarding their involvement in DOS. (Mem. at 5.) In addition, Mr.
              Raniere’s counsel was aware that the Government had served a grand jury sub-
              poena on Ms. Clyne in April 2019, and counsel for Mr. Raniere, Ms. Hatchette,
              and Ms. Clyne were all paid out of an irrevocable trust established by co-defend-
              ant Claire Bronfman. (Opp. at 6-7.)
              5
               It is worth noting that Mr. Raniere fails to establish that either of these individ-
              uals would have actually testified for the defense but for the Government’s




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              of their unavailability, is irrelevant to the task of establishing that their
              testimony qualifies as new evidence.
              Tellingly, Mr. Raniere’s memorandum in support of his second new
              trial motion does not point to a single case in which a court has recog-
              nized the kind of evidence he cites as the basis for his motion as
              “newly discovered evidence” under Rule 33. As the Second Circuit has
              repeatedly made clear, evidence that was knowable but unavailable
              to the defendant, including testimony by witnesses whom the defend-
              ant failed to call—regardless of the reason for that failure—does not
              warrant a new trial under Fed. R. Crim. P. 33(b)(1). Accordingly, Mr. Ra-
              niere’s motion is properly construed as a motion for a new trial on a
              ground other than newly discovered evidence under Rule 33(b)(2).
              That provision of the Federal Rules of Criminal Procedure requires that
              such a motion be brought within fourteen days of the verdict or find-
              ing of guilty.6 The motion is therefore untimely.7


              alleged threats. There is no evidence that Mr. Raniere’s counsel made any effort
              to arrange for either Ms. Hatchette or Ms. Clyne to testify at trial, or even so
              much as an inquiry to that effect. (See Opp. at 9-10.) Thus, Mr. Raniere’s claim
              that the Government’s conduct caused the witnesses to be unavailable relies on
              a dubious notion of cause and effect. A potential witness whose testimony is not
              sought fails to testify primarily for that reason, regardless of whether she would
              have agreed or declined to testify in the counterfactual scenario in which her
              testimony was sought.
              6
               In this case, the court extended the deadline for post-trial motions to July 10,
              2019.
              7 Because the court finds that Mr. Raniere’s motion was not timely filed, it de-
              clines to analyze the merits of the motion. The court notes, however, that even
              if Mr. Raniere’s motion were timely, it would fail on other grounds, including the
              fact that the evidence contained in Ms. Hatchette’s and Ms. Clyne’s affidavits is
              neither material nor exculpatory. The fact that these two individuals may have
              perceived their and others’ participation in DOS, sexual contact with Mr. Rani-
              ere, or uncompensated work for Mr. Raniere’s organizations to be voluntary or
              even beneficial does not undermine the credibility of other witnesses who testi-
              fied to vastly different experiences and perceptions. Mr. Raniere was not
              convicted of crimes committed against Ms. Hatchette or Ms. Clyne, and the fact




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                      CONCLUSION

                 For the reasons stated above, Mr. Raniere’s (Dkt. 956) Second Mo-
                 tion for a New Trial is DENIED.


        SO ORDERED.


        Dated:       Brooklyn, New York
                     October 23, 2020

                                                                        _/s/ Nicholas G. Garaufis_
                                                                        NICHOLAS G. GARAUFIS
                                                                        United States District Judge




                 that they do not perceive themselves as his victims is therefore of minimal rele-
                 vance. See United States v. Scarpa, 897 F.2d 63, 70 (2d Cir. 1990) (“A defendant
                 may not seek to establish his innocence . . . through proof of the absence of
                 criminal acts on specific occasions.”). Even assuming, without deciding, that all
                 of the information alleged in Ms. Hatchette and Ms. Clyne’s affidavits is true, the
                 court is far from convinced “that the jury has reached a seriously erroneous re-
                 sult” or that justice was not served by the verdict in Mr. Raniere’s case. Snyder,
                 740 F. App’x at 728.




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